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AO 9l (llcv. I l/l I   ) Crinrrnal Courplurnr

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                                                              District ol' Nerv Mexico

                       Unitcd States ol'America
                                       v.
             Alejandro cUERECA-RODRIeUEZ                                           caseNof,(uJ+D7


                                 Da.[emkrntlst



                                                          CRIMINAL COMPLAINT
           l. the complaittant in this case. stale thal the lbllorving is lrue to the best ol'my knorr,ledge and beliel.
On or about the date(s) of                         September 25,2022              in tlrc courrty      ol- Dona Ana and Elsewhere in tlre
                             Disrrict ol'           New   Mexico       . rlre dcl'endanr(s) r,iolqted:

           Codc Scc'tiotr                                                            O//b tt:; c De s c' r' i 1tt i ot t
Title 18 United States Code 1956(h)
                                                       Title 18 United States Code 1956(h); Any person who conspires to transport,
                                                       or attempts to transport, monetary instruments to wit; US currency, from a
                                                       place inside the United States to a place outside the United States, knowing
                                                       that he monetary instruments represented proceeds unlawful activity, to wit:
                                                       conspiracy to bring in certain aliens into the United States; with the intent to
                                                       promote the carrying on of said specified unlawful activity or knowing that
                                                       such transportation is designed to conceal the nature of the proceeds in
                                                       violation of 18;1956(aX2XA)&(BXi) & (h)

           This criminal conrplairrt is bascd on thcse lacts:

See attachment




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Dare:    O3- A3 -bZ3                                                                                                ..,xtt-.Y:4ry17
                                                                                                     The Honorable Kevin. R.
City and state:                                 Cryceg, New Mexico                                   United States Magistrate Judge
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        Case 2:23-cr-00644-KG Document 1 Filed 03/03/23 Page 2 of 2




                  AFITIDAVIT IN SUPPORT OT"' CITIMINAT, COMPLAINT

                                   United States of America

                                       ntejanaliGuereca

                                  Alfudavit of I-lector Vasquez

On November 25, 2A22, United States Custorns and Border Protection Officers detairred
Alejandro GUERECA at the Bridge o{'the Americas Port ol Entry in El Paso, Texas, a{ier
CUERECA thiled to declare a large amount o1'U.S. Currency entering the United States from
Mexico. Homeland Security Investigations (HSI) Special Agents responded to the scene and
notified GUERECA of his rights. During a post-rV/iranda intervier,v, CUERECA admitted to
being a men:ber of an Alien Smuggling Organization (ASO), and furlher con{'essed that he has
transported and conspired to trzursport tnoney tor the ASO tbr the last two to three years.
GUERECA stated that he transports money, which he knows to be proceeds ol'alien srnuggling,
from Mexico to the United States, and deposits the illicit proceeds into a U.S account.
GUERECA also stated that unknown people deposit money into his account via electronic
transfbrs, including Zelle. to pay lor their alien smuggling fues. Alejandro CUERICA stated
that he then withdraws the currency several tinres a month and transports that currency to other
menrbers r:f the ASO in'fexas and New Mexico. Additionally. GUERECA stated that he
smuggles aliens for the ASO and conducts purchases for ammunition, magazines. and vehicles
for the ASO. rvhich he then transports liorn the United States to Mexico for the ASO. For his
illicit rnoney transportation/money laurrdering services, CUERECA adnritted that he is paid $50-
 I00 USD per $ 1000 USD that he transports/launders tbr the ASO.

I'he United States Attorney's Office, District ol'Nerv Mexico approved lederal prosecution of
GUERECA tbr l8 USC rs 1956(h), Conspiracy to Cornmit Intemational Money Laundering.




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Subscribed and sworn to befb're  I-
sc on this ) day of March, 2023.




Honorable KevinYYS                                      Llector Vasquez
United States Magistrate Judge                          Special Agent
                                                         I lomeland Security Investigations
